Case: 4:17-cv-02702-JAR          Doc. #: 185 Filed: 01/04/22   Page: 1 of 21 PageID #:
                                            1891



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 WAYNE GERLING

                 Plaintiff,
v.                                            Cause No. 4:17-cv-2702-JAR

CITY OF HERMANN, MISSOURI, et al.             JURY TRIAL DEMANDED

                 Defendants.



     PLAINTIFF’S SUGGESTIONS IN SUPPORT OF HIS MOTION FOR AWARD OF
                 ATTORNEYS’ FEES AND NON-TAXABLE COSTS

       COMES NOW, Plaintiff Wayne Gerling, by and through counsel of record, and for his

Suggestions in Support of Plaintiff’s Motion for Award of Attorneys’ Fees and Non-Taxable

Costs, states as follows:




{0268417.DOCX}
Case: 4:17-cv-02702-JAR    Doc. #: 185 Filed: 01/04/22    Page: 2 of 21 PageID #:
                                      1892



                             TABLE OF CONTENTS

      I.     Background………………………………………………………………………1

      II.    Legal Issues and Standards……………………………………………………...5

             a. Fee Shifting Provisions in Civil Rights Litigation………………………….5

             b. Standard……………………………………………………………………...6

                   i. Reasonable Fee Defined – Attract Competent Counsel……………7

                  ii. Plaintiff was the prevailing Party…………………………………...7

                  iii. Magnitude of Success……………………………………………..….8

                  iv. Degree of Success – Need Only Win One Significant Claim………9

                  v. Research Time………………………………………………………10

                  vi. ‘Lodestar’ Amount – Presumed Minimum Reasonable Fee……..11

                 vii. Amount of Judgment has No Bearing on Whether the Fee is
                      Reasonable…………………………………………………………..11

                 viii. Hours Worked………………………………………………………12

                  ix. Hourly Rate…………………………………………………………12

                  x. Three Primary Attorneys…………………………………………..15

                  xi. Reasonable Non-Taxable Expenses………………………………..15

                 xii. Additional Time Expected………………………………………….16

      III.   CONCLUSION…………………………………………………………………16




                                        I
{0268417.DOCX}
Case: 4:17-cv-02702-JAR       Doc. #: 185 Filed: 01/04/22        Page: 3 of 21 PageID #:
                                         1893



                               TABLE OF AUTHORITIES

Cases

Anderson v. AB Painting & Sandblasting, Inc., 578 F.3d 542 (7th Cir. 2009)………………….12

Anderson v. Director, Office of Worker’s Compensation Programs,
91 F.3d 1322 (9th Cir. 1996) ……………………………………………………………………..9

Avalon Cinema Corp. v. Thompson, 689 F.2d 137 (8th Cir. 1982) ………………………….….14

Barjon v. Dalton, 132 F.3d 496 (9th Cir. 1997) ………………………………………………...14

Barrow v. Falck, 977 F.2d 1100 (7th Cir. 1992)………………………………………………...12

Blanchard v. Bergeron, 489 U.S. 87 (1989) …………………………………………………….11

Blum v. Stenson, 465 U.S. 886 (1984) ………………………………………………………11, 14

Bruno v. Western Electric Co., 618 F. Supp. 398, 406 (D. Col. 1985) ……………………..……9

Butler v. Dowd, 979 F.2d 661, 676 (8th Cir. 1992) …………………………………………....... 7

Casey v. City of Cabool, 12 F.3d 799 (8th Cir. 1993) …………………………………….…...6, 9

Catlett v. Missouri Highway & Transportation Commission, 828 F.2d 1260 (8th Cir. 1987) …..9

Cf. Gumbhir v. Curators of University of Missouri, 157 F.3d 1141 (8th Cir. 1998) …………..…6

City of Riverside v. Rivera, 477 U.S. 561 (1986) …………………………………………..….…9

Collins v. Southeastern Pennsylvania Transportation Authority
69 F. Supp. 2d. 701 (E.D. Pa. 1999) ………………………………………………………….…10

Farrar v. Hobby, 506 U.S. 103 (1992) …………………………………………………………...8

Guam Society of Obstetricians and Gynecologists v. Ada, 100 F.3d 691 (9th Cir. 1996) ………..6

Hadix v. Johnson, 65 F.3d 532 (6th Cir. 1995) …………………………………………………...7

Hendrickson v. Branstand, 934 F.2d 158 (8th Cir. 1991) ……………………………………….11

Hensley v. Eckerhart, 461 U.S. 424 (1983) …………………………………………………..7, 11

Jenkins v. Missouri, 127 F.3d 709 (8th Cir. 1997) ……………………………………….……8, 9



                                             II
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185 Filed: 01/04/22         Page: 4 of 21 PageID #:
                                           1894



Laffey v. Northwest Airlines, Inc., 746 F.2d 4 (D.C. Cir. 1984) ………………………………...15

Moore v. City of Des Moines, 766 F.2d 343 (8th Cir. 1988) ……………………………………14

Moriarty v. Svec, 233 F.3d 955, 967 (7th Cir. 2000) ……………………………………………..8

Neufeld v. Searle Laboratories, 884 F.2d 335 (8th Cir. 1989) ………………………………….15

Newman v. Piggy Park Enterprises, Inc., 390 U.S. 400 (1968) …………………………….……6

Parke v. First Reliance Standard Life Ins. Co., 368 F.3d 999 (8th Cir. 2004) ………...…………8

Paschall v. Kansas City Star Co., 695 F.2d 322 (8th Cir. 1982) …………………………………9

Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546 (1986)……7, 11

Perdue v. Kenny A., 559 U.S. 542 (2010) .………………………………………………………..7

Pinkham v. Camex, Inc., 84 F.3d 292 (8th Cir. 1996) …………………………………………..15

Smith v. Freeman, 921 F.2d 1120 (10th Cir. 1990) …………………………………………..…14

Snider v. City of Cape Girardeau, 752 F.3d 1149 (8th Cir. 2014) ………………………..….6, 11

Supreme Court of Virginia v. Consumers Union, 446 U.S. 719 (1980) ………………………….6

Texas State Teachers Ass’n v. Garland Independent School Dist., 489 U.S. 782 (1989) ……..7, 8

Tuf Racing Products, Inc. v. American Suzuki Motor Corp., 223 F.3d 585 (7th Cir. 2000)...11, 12

Statutes and Rules

42 U.S.C. §1988………………………………………………………………………………5, 15




                                              III
{0268417.DOCX}
Case: 4:17-cv-02702-JAR           Doc. #: 185 Filed: 01/04/22            Page: 5 of 21 PageID #:
                                             1895



       I.      Background

       Plaintiff filed 42 § U.S.C. 1983 claims against Defendants Matthew Waite (“Waite”),

Frank Tennant (“Tennant”) and the City of Hermann, Missouri (“City”) arising from an incident

that occurred on November 18, 2012. After more than nine long years, Plaintiff was finally able

to get his day in court. Plaintiff asserted claims against Defendant Waite for violating his civil

rights by arresting him without a warrant or exigent circumstances in his home, excessive force

and prosecution without probable cause.

       Twenty-eight seconds after knocking on Plaintiff’s door around 9:00 p.m. on a Sunday

evening related to an alleged parking violation, Waite shot Plaintiff with the darts of a taser in his

living room.     In the process, Waite shoved Plaintiff’s son-in-law on top of his 9-year-old

grandson while intruding into Plaintiff’s home. Current Police Chief Marlon Walker admitted in

both his deposition and at trial (during an offer of proof) that Plaintiff had committed no crimes

prior to being shot with the taser in his living room. During trial, Waite admitted that he wrote in

his subsequent report that the 9-year-old was an “aggressive subject” to “cover himself.” The

jury found Waite’s conduct was so egregious and reprehensible that it awarded Plaintiff

$500,000 in punitive damages.

       Plaintiff asserted a claim against the City for municipal liability and also asserted claims

against Tennant, which were dismissed by this Court at the summary judgment stage. The

Eighth Circuit dismissed Plaintiff’s claim for excessive force as barred by qualified immunity

due to it not being “clearly established” that an officer could not shoot someone with a taser in

their home based on the circumstances of this case.

       Prior to both Tennant and the City being dismissed, Plaintiff was able to obtain

invaluable discovery from both that was essential to the prosecution of Plaintiff’s unlawful arrest



                                                  1
{0268417.DOCX}
Case: 4:17-cv-02702-JAR              Doc. #: 185 Filed: 01/04/22       Page: 6 of 21 PageID #:
                                                1896



claim against Waite – including evidence that Waite should never have been at Plaintiff’s front

door on November 18, 2012. Plaintiff would not have obtained this discovery had these parties

not been defendants.

        The parties engaged in written discovery and the exchange of voluminous information

pursuant to Rule 26(a)(1). The City attempted to thwart Plaintiff from obtaining a lot of essential

information by asserting numerous improper objections. It took much negotiation and ultimately

a motion to compel to obtain said information. Plaintiff was criminally prosecuted for almost

five years, and based on a memorandum written by Tennant to the City prosecutor it was

discovered that there was a scheme to obtain some finding of guilt against Plaintiff to defeat the

civil lawsuit. Thus, Plaintiff’s counsel was required to be involved in the criminal prosecution to

preserve Plaintiff’s civil claims.

        A substantial amount of records related to this criminal prosecution were generated,

reviewed and ultimately used by Plaintiff to prevail at trial. Plaintiff even sought damages

related to this prosecution and Waite did not object to the same. The depositions of Waite and his

supervisor, Lt. Straatmann, were taken in the criminal prosecution and there was an evidentiary

hearing where Waite, Plaintiff and Plaintiff’s son-in-law (Jerrod McCubbin) all testified. This

information was crucial to Plaintiff’s case, including showing that Waite constantly changed his

story regarding what happened – damaging his credibility at trial. No fees are being asserted

related to these depositions and this evidentiary hearing, nor is any fee being claimed for

what Plaintiff had to pay his criminal attorney to defend against this prosecution.

        Multiple audio and video recordings were generated and analyzed frame by frame

(including by Defendant’s counsel at trial) to determine where Plaintiff was located when he was

arrested – which was the central liability issue at trial.



                                                   2
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185 Filed: 01/04/22          Page: 7 of 21 PageID #:
                                            1897



        Plaintiff obtained the files of both Tennant and Waite, the City’s policies and practices

(including use of force policies), numerous documents (including City meeting minutes) related

to the relevant ordinances and other parking citations issued by the City, training provided to

Waite, and dispatch records showing the reckless conduct of Waite in investigating the alleged

parking violation. All of these records were used in prosecuting the unlawful arrest claim against

Waite. Had Tennant and/or Lt. Straatmann appeared at trial to testify pursuant to the subpoenas

with which they were served, a lot more of these documents would have been introduced as

evidence. As the Court knows, Plaintiff’s counsel found out after the jury was impaneled that

both Lt. Straatmann (who was going to be Plaintiff’s first called witness) and Tennant did not

intend to appear at trial. Plaintiff’s counsel was told that Lt. Straatmann had been exposed to

COVID 19, but after trial Plaintiff’s counsel was informed Lt. Straatmann tested negative for

COVID 19. Plaintiff’s counsel was told that Tennant had fallen down on his way to work and

required hospitalization. These events coincidently occurred on the very day Lt. Straatmann and

Tennant were subpoenaed to provide sworn testimony regarding their involvement in this matter

in front of the jury.

        Throughout the case, Plaintiff deposed Lt. Straatmann, Tennant, Waite, Chief Marlon

Walker, David Polite (City attorney) and Mark Wallace (City Administrator). Plaintiff is not

seeking fees related to subpoenaing Polite or Wallace to testify at trial, even though their

need was greatly diminished after it was learned that Lt. Straatmann and Tennant did not

intend to appear at trial. Defendants deposed Plaintiff, Plaintiff’s wife, Plaintiff’s son-in-law,

Plaintiff’s daughter and Plaintiff’s 9-year-old grandson.

        Plaintiff is not seeking any fees for time spent directly related to discovery sent to

the dismissed Defendants that did not bear directly on the claims made against Waite.



                                                 3
{0268417.DOCX}
Case: 4:17-cv-02702-JAR            Doc. #: 185 Filed: 01/04/22          Page: 8 of 21 PageID #:
                                              1898



Plaintiff’s counsel is also not seeking fees for time incurred in researching the merits of

Defendant Tennant’s or the City’s motion for summary judgment. Plaintiff’s counsel is

also not seeking fees for time spent drafting Plaintiff’s response to the motions for

summary judgment filed by Defendant Tennant or the City and time that was solely

dedicated to Waite’s summary judgment regarding Plaintiff’s excessive force claim.

Plaintiff’s counsel is further not seeking fees related to responding to Defendants’ Daubert

motion or any fees or expenses related to Plaintiff’s retained expert. Finally, Plaintiff is not

seeking any time incurred by Arthur Benson, a prominent Kansas City civil rights

attorney, who assisted at the outset of this matter regarding strategy for the case.

         Throughout the case, Plaintiff made offers and attempts to resolve the claims against

Waite.    However, settlement did not materialize and Waite made no substantial offer that

approached the jury’s verdict. Plaintiff even tried to mediate this case prior to Waite filing his

appeal to the Eighth Circuit, but Waite’s insurer refused to mediate on the basis that the insurer

was confident Waite’s appeal would be successful and dispose of the case. Plaintiff’s counsel is

only seeking very minimal fees related to this appeal.

         After settlement opportunities failed, the case proceeded to a two-and-a-half-day jury trial

against Waite.     The jury ultimately returned a verdict totaling $150,000 in compensatory

damages and $500,000 in punitive damages. The entire purpose of filing this lawsuit was to send

a message that this type of police misconduct is unacceptable in our community. The jury’s

verdict sent this message loud and clear.

         Police misconduct cases are very difficult to litigate and cumbersome to evaluate, and

police misconduct trials are very easy to lose. Police officers are trained in testimonial technique

and are practiced witnesses because of their numerous court appearances in state criminal



                                                  4
{0268417.DOCX}
    Case: 4:17-cv-02702-JAR           Doc. #: 185 Filed: 01/04/22                Page: 9 of 21 PageID #:
                                                 1899



proceedings. Civil rights plaintiffs are often prejudiced simply by the mere fact that they have

become involved in a dispute with the police. Overall, these cases are complex, time consuming

and preclude additional engagements.

          Again, this particular matter continued through litigation for over four years and the jury

verdict came over nine years after Waite’s unconstitutional actions. Waite contested every issue

in the case, including where Plaintiff was physically located when Waite decided to arrest him –

even though Waite admitted under oath during the criminal proceedings that Gerling was in his

home when this decision was made.

          As the prevailing party under § 1983, Plaintiff submits his counsel’s request for

attorneys’ fees. Plaintiff contends that the hourly rates claimed are appropriate for this venue

and the hours spent are reasonable in prosecuting Plaintiff’s claims to a successful resolution1.

          II.    Legal Issues and Standards

                 a. Fee Shifting Provisions in Civil Rights Litigation

          42 U.S.C. §1988 provides in relevant part: “In any action or proceeding to enforce a

provision of section [] . . 1983 . . . of this title . . . the district court, in its discretion, may allow

the prevailing party, other than the United States, a reasonable attorneys’ fee as part of the

costs.”     The Eighth Circuit has articulated the public policy underlying the fee-shifting

provisions in successful §1983 litigation as follows:

          The primary purpose of [the fee-shifting provision] is to promote diffuse private
          enforcement of civil rights laws by allowing the citizenry to monitor rights
          violations at their source, while imposing the costs of rights violations on the
          violators. A plaintiff bringing a civil rights action “does so not for himself alone
          but also as a ‘private attorney general,’ vindicating a policy of Congress
          considered of the highest priority. If successful plaintiffs were routinely forced to
          bear their own attorney’s fees, few aggrieved parties would be in a position to


1
 Plaintiff will document his fees for time expended on preparing this Motion for Attorneys’ Fees and submit other
post-trial time charges in a supplemental filing at the appropriate time.

                                                       5
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185     Filed: 01/04/22       Page: 10 of 21 PageID #:
                                              1900



       advance the public interest . . .” Newman v. Piggy Park Enterprises, Inc., 390
       U.S. 400, 402 (1968).

       In order for such a policy to be effective, Congress felt it appropriate to shift the
       true full cost of enforcement to the guilty parties to eliminate any obstacle to
       enforcement. “It is intended that the amount of fees awarded under [the fee-
       shifting provision] be governed by the same standards which prevail in other
       types of equally complex Federal litigation, such as anti-trust cases . . .”

Casey v. City of Cabool, 12 F.3d 799, 805 (8th Cir. 1993).

       While Plaintiff has benefited personally from obtaining his jury verdict, (or will benefit

assuming the verdict stands and is collected), the jury’s decision serves a much bigger purpose.

Specifically, it sent a message that sworn law enforcement officers must abide by the law

(including state and municipal laws) and Constitution, and it serves to regulate and monitor the

same officers’ conduct when it comes to the decision to arrest someone in the sanctity of their

own home – particularly over a misdemeanor offense. This will benefit the entire community –

not just Plaintiff. As Plaintiff testified during trial, this case was brought to make sure what

happened to Plaintiff does not happen to anyone else.

       As a result, this case is distinguishable from the cases in which the plaintiff prevails but

vindicates only a private, personal interest without community benefit. Cf. Gumbhir v. Curators

of University of Missouri, 157 F.3d 1141 (8th Cir. 1998) (limited civil rights value to salary

dispute by professor over a modest $20,832 in salary damages).

       Attorneys’ fee claims by plaintiffs under §1988 should be granted unless there is a

special reason compelling denial. Supreme Court of Virginia v. Consumers Union, 446 U.S.

719 (1980) (emphasis added). There is no special reason compelling denial in this case.

              b. Standard

       The court has discretion over the attorneys’ fee award in a civil rights case. Guam

Society of Obstetricians and Gynecologists v. Ada, 100 F.3d 691, 695 (9th Cir. 1996); Snider v.

                                                6
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185     Filed: 01/04/22       Page: 11 of 21 PageID #:
                                              1901



City of Cape Girardeau, 752 F.3d 1149, 1159 (8th Cir. 2014). A trial court has a “special

understanding” of the complexity of a case, and therefore is best equipped to determine the

reasonableness of the hours expended by counsel. Butler v. Dowd, 979 F.2d 661, 676 (8th Cir.

1992). The Court should make reasonably detailed findings so that the court’s exercise of

discretion may be reviewed on appeal. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).

                       i. Reasonable Fee Defined – Attract Competent Counsel

       A “reasonable” fee is a fee that is sufficient to induce a capable attorney to undertake the

representation of a meritorious civil rights case. Perdue v. Kenny A., 559 U.S. 542, 552 (2010).

If plaintiffs “find it possible to engage a lawyer based on the statutory assurance that he will be

paid a ‘reasonable fee,’ the purpose behind the fee-shifting statute has been satisfied.”

Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565 (1986). A

reasonable attorneys’ fee is one that is “adequate to attract competent counsel, but that does not

produce windfalls to attorneys.” Perdue, 559 U.S. at 552. The determination of “the going rate

in the community is in actuality the most critical factor in determining a reasonable fee.” Hadix

v. Johnson, 65 F.3d 532 (6th Cir. 1995).

       Due to the large amount of work anticipated to get this case through trial, one of the

primary reasons undersigned counsel were attracted to the case was the availability of the fee

shifting statute. Moreover, the affidavits of counsel and the billing rates published by Missouri

Lawyers Weekly demonstrate that the requested rates are reasonable and comparable to rates

charged by other attorneys in both the St. Louis and Kansas City markets.

                      ii. Plaintiff was the prevailing Party

       “A prevailing party [is] one who has succeeded on any significant claim affording it some

of the relief it sought.” Texas State Teachers Ass’n v. Garland Independent School Dist., 489



                                                7
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185     Filed: 01/04/22      Page: 12 of 21 PageID #:
                                               1902



U.S. 782, 791 (1989). A plaintiff is the prevailing party when actual relief materially alters the

relationship between the parties. Farrar v. Hobby, 506 U.S. 103, 111-12 (1992).

         Plaintiff will not state the exact amount of any firm settlement offer made by Defendant

(Defendant only made two settlement offers and flatly refused to attend mediation prior to

appealing this Court’s decision regarding his motion for summary judgment), but the verdict

substantially exceeds the highest offer. With this in mind, Defendant never made a “substantial

settlement offer” as that term is defined in the following case law: “Substantial settlement offers

should be considered by the district court as a factor in determining the award of reasonable

attorneys’ fees, even where Rule 68 does not apply.” Parke v. First Reliance Standard Life Ins.

Co., 368 F.3d 999, 1012 (8th Cir. 2004) (quoting Moriarty v. Svec, 233 F.3d 955, 967 (7th Cir.

2000). An “offer is substantial if . . . the offered amount appears to be roughly equal to or more

than the total damages recovered by the prevailing party.” Id. at 1013 (quoting Moriarty, 233

F.3d at 967).

         Plaintiff ultimately succeeded against Defendant regarding his claim for unlawful arrest

and now has a $650,000 judgment against Defendant. Thus, the relationship between Plaintiff

and Defendant has changed. The claim on which Plaintiff prevailed was significant, to both

Plaintiff and the community, rendering him the prevailing party.

                      iii. Magnitude of Success

         The “most important factor in determining what is a reasonable fee is the magnitude of

the plaintiff’s success in the case as a whole.” Jenkins v. Missouri, 127 F.3d 709, 716 (8th Cir.

1997).

         Here, Plaintiff received a $650,000 verdict against an individual police officer without

any evidence (or even argument) that Plaintiff suffered any serious or long-term physical injury.



                                                8
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185     Filed: 01/04/22       Page: 13 of 21 PageID #:
                                               1903



The jury’s verdict sent a message that the sanctity of one’s home is still sacred, and that this type

of police misconduct is no longer tolerable in our community – which is the very reason this

lawsuit was filed. Thus, Plaintiff suggests this is a success of enormous magnitude.

                      iv. Degree of Success – Need Only Win One Significant Claim

         Plaintiffs who achieve success must be awarded a fully compensatory fee even if the

court does not adopt every contention raised by those Plaintiffs. Catlett v. Missouri Highway &

Transportation Commission, 828 F.2d 1260, 1270 (8th Cir. 1987). This includes time expended

on all pre-trial motions, Paschall v. Kansas City Star Co., 695 F.2d 322, 336-37 (8th Cir. 1982);

all time expended in discovery, Bruno v. Western Electric Co., 618 F. Supp. 398, 406 (D. Col.

1985); and time spent on preparing post-trial pleadings for an award of attorneys’ fees and costs,

Anderson v. Director, Office of Worker’s Compensation Programs, 91 F.3d 1322, 1325 (9th Cir.

1996).

         Because “damages awards do not reflect fully the public benefit advanced by civil rights

litigation, Congress did not intend for fees in civil rights cases, unlike most private cases, to

depend on substantial monetary relief.” City of Riverside v. Rivera, 477 U.S. 561, 575 (1986).

Once a party is found to have prevailed, the award should not be reduced merely because a party

did not prevail on every theory raised in the lawsuit. Casey v. City of Cabool, 12 F.3d 799, 805-

06 (8th Cir. 1993). Further, a plaintiff is entitled to fees for time spent on issues on which

plaintiff did not prevail if it was reasonable to have litigated them to secure a verdict. See

Jenkins by Jenkins v. State of Missouri, 127 F.3d 709, 718 (8th Cir. 1997(defining the test as

whether “the plaintiff’s attorneys would have been expected or obliged to take the position they

took.”).




                                                 9
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185     Filed: 01/04/22     Page: 14 of 21 PageID #:
                                               1904



       While Plaintiff succeeded on his unlawful arrest claim against Waite, Plaintiff’s other

claims were essential to developing the claims against Waite. As Plaintiff was allowed to seek

damages due to being shot with the taser, all discovery conducted related to Plaintiff’s excessive

force claim was essential to securing a verdict. While this Court did not allow Plaintiff to enter

into evidence the fact that every police officer and administrator in the City of Hermann knew

Plaintiff’s commercial vehicle was legally parked, Defendant’s defense was certainly impacted

by the fear of doing something to “open the door” and allow this evidence in. This discovery

was also essential to proving that Waite either intentionally or recklessly violated Plaintiff’s

constitutional rights – which led to the punitive damage award. Had Lt. Straatmann and/or

Tennant appeared at trial pursuant to their validly served subpoenas, even more of this discovery

would have been used at trial.

       Moreover, Plaintiff’s counsel has reduced and excluded time spent related to claims of

other defendants that did not impact the claims against Defendant Waite.

                      v. Research Time

       As the time records show, Plaintiff’s counsel spent time researching the legal issues

herein. In Collins v. Southeastern Pennsylvania Transportation Authority, the federal district

court addressed the compensability of research time:

       Even an experienced attorney should research the legal issues pertaining directly
       to the case at hand. Nor is the suggestion that a junior associate could have done
       the work persuasive.

69 F. Supp. 2d. 701, 705 (E.D. Pa. 1999)

       Here, all counsel for Plaintiff work for firms with less than 15 attorneys. Younger

associates were utilized by both firms to assist with research and the drafting of the briefs /

motions.



                                                10
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185     Filed: 01/04/22       Page: 15 of 21 PageID #:
                                              1905



                      vi. ‘Lodestar’ Amount – Presumed Minimum Reasonable Fee

       The “lodestar figure” is the number of hours reasonably expended multiplied by the

attorneys’ reasonable hourly rates to determine the product. Hensley v. Eckerhart, 461 U.S. 424,

433 (1983). This “resulting product is presumed to be the minimum reasonable fee to which

counsel is entitled.” Pennsylvania v. Delaware Valley Citizens Council for Clean Air, 478 U.S.

546, 564 (1986); Blum v. Stenson, 465 U.S. 886, 897 (1984); Hendrickson v. Branstand, 934

F.2d 158, 1162 (8th Cir. 1991) (“the lodestar award . . . is presumptively a reasonable fee, and

most factors relevant to determining the amount of the fee are subsumed within the lodestar”).

For example, the “novelty and complexity of the issues presumably were fully reflected in the

number of billable hours recorded by counsel and thus do not warrant an upward adjustment in a

fee based on the number of billable hours times reasonable hourly rates.” Blum, 465 U.S. at 898;

see also Snider v. City of Cape Girardeau, 752 F.3d 1149, 1159 (8th Cir. 2014) (stating that the

lodestar amount is the “starting point” for determining an attorney’s fee award). Further, the

lodestar is entitled to a strong presumption of reasonableness. Blanchard v. Bergeron, 489 U.S.

87, 94 (1989).

                     vii. Amount of Judgment has No Bearing on Whether the Fee is
                          Reasonable

       Because Congress wants even small violations of certain laws to be checked through

private litigation and because litigation is expensive, it is no surprise that the cost to pursue a

contested claim will often exceed the amount in controversy. Tuf Racing Products, Inc. v.

American Suzuki Motor Corp., 223 F.3d 585, 592 (7th Cir.2000). That is the whole point of fee-

shifting—it allows plaintiffs to bring those types of cases because it makes no difference to an

attorney whether she receives $20,000 for pursuing a $10,000 claim or $20,000 for pursuing a

$100,000 claim. See id. Fee-shifting would not “discourage petty tyranny” if attorney's fees were

                                                11
{0268417.DOCX}
Case: 4:17-cv-02702-JAR            Doc. #: 185     Filed: 01/04/22    Page: 16 of 21 PageID #:
                                                 1906



capped or measured by the amount in controversy. Barrow, 977 F.2d at 1103; see Tuf

Racing, 223 F.3d at 592; Anderson v. AB Painting & Sandblasting, Inc., 578 F.3d 542, 545 (7th

Cir. 2009).

                       viii. Hours Worked

       Plaintiff’s counsel have attached time records and affidavits indicating the time spent on

this matter as follows:

                   •      Kevin Carnie                       334.6 hours

                   •      David Welder                       496 hours

                             o Courtney McCray               17.3 hours

                             o Paul Breer                    5.7 hours

                             o Emily Tung                    11.5 hours

                             o Holli Dobler                  33.4 hours

                   •      Patrick McPhail                    217.6 hours

                   •      Amy Sciuto                         51.7 hours

                   •      Cheryl Little                      42.5 hours

                   •      Aly Ridgley                        44.3 hours

       These exhibits detail in chronological order the dates each task was performed, the nature

of the task itself and the time required to perform the task. The work was reasonable and

necessary for the prosecution of Plaintiff’s unlawful arrest claim against Waite.

                        ix. Hourly Rate

       Undersigned counsel seek hourly rates of $595 per hour for Kevin Carnie, $500 per hour

for David Welder, $450 per hour for Patrick McPhail, $350 per hour for Courtney McCray, Paul




                                                  12
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185     Filed: 01/04/22       Page: 17 of 21 PageID #:
                                               1907



Breer, Emily Tung and Holli Dobler, $275 per hour for Amy Sciuto and $250 per hour for

Cheryl Little and Aly Ridgley.

       Kevin Carnie served as the lead trial attorney and has been actively involved with this

case since it was filed in November 2017. Mr. Carnie deposed David Polite, Mark Wallace and

Marlon Walker, the corporate representatives of the City and was the primary developer of case

strategy, was actively involved throughout discovery, examined Waite and Marlon Walker at

trial and conducted closing argument – among the other activities detailed in Exhibit A,

Affidavit of Kevin Carnie. As indicated in his affidavit, Mr. Carnie has secured over $100

million in verdicts and settlements for clients in a wide variety of cases, ranging from class

actions, complex product liability suits, construction disputes, intellectual property matters, civil

rights and personal injury. Exhibit A, p. 2, ¶ 5. As also explained in his affidavit, Mr. Carnie

has extensive experience in civil rights matters and has been sought after by other attorneys, civil

rights organizations and the media regarding his expertise. Exhibit A, p. 2, ¶ 6.

        David Welder has been actively involved in this case since November 2014, including

spending almost three years guiding Plaintiff through the criminal process in order to protect

Plaintiff’s civil rights claim. Mr. Welder deposed Lt. Straatman, produced Plaintiff and his

family for their depositions, actively participated in written discovery, was primarily responsible

for keeping Plaintiff updated about the case and discussing strategy, primarily prepared the

response to Waite’s motion for summary judgment and examined Plaintiff and his wife at trial –

among the other activities detailed in Exhibit B, David Welder Affidavit. Since becoming

licensed in 2009, Mr. Welder has practiced extensively in the area of complex civil litigation

(mostly multi-million dollar claims) and handled all aspects of the same, including multiple trials

and arbitrations, all across the country. Exhibit B, p. 1 ¶ 3.



                                                 13
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185     Filed: 01/04/22      Page: 18 of 21 PageID #:
                                              1908



       Patrick McPhail has also been actively involved in this case since November 2017. Mr.

McPhail drafted the Complaint, was very active during discovery, deposed Waite and Tennant,

drafted many of the pretrial and trial motions, conducted opening argument at trial and examined

Plaintiff’s son-in-law, Jerrod McCubbin, at trial – among the other activities detailed in Exhibit

C, Patrick McPhail Affidavit. As indicated in his affidavit, Mr. McPhail has secured over

$30,000,000 in verdicts and settlements for personal injury victims, including a $5,100,000 jury

verdict in Jefferson County in 2019 and a $10,000,000 verdict in St. Louis County in 2021.

Exhibit C, p. 2, ¶ 4. Mr. McPhail also has extensive experience in civil rights matters. Id.

       The prevailing party has the burden of proving the prevailing market rate. Smith v.

Freeman, 921 F.2d 1120 (10th Cir. 1990); Barjon v. Dalton, 132 F.3d 496 (9th Cir. 1997). In

setting a reasonable attorneys’ fee, the touchstone is whether the rate is in line with those

prevailing in the community for similar services by lawyers of reasonable comparable skill,

experience and reputation. See Blum v. Stenson, 465 U.S. 886, 895-96 (1984); see also Moore v.

City of Des Moines, 766 F.2d 343, 346 (8th Cir. 1988) (whether rate is “within the general rates

charged for a particular service in the relevant community”); see also Avalon Cinema Corp. v.

Thompson, 689 F.2d 137, 140 (8th Cir. 1982) (in general, reasonable rate is “ordinary fee for

similar work in the community.”)

       Plaintiff has attached billing rates surveys by Missouri Lawyers Media in 2020 and 2019,

which show the suggested rates are reasonable. (see Ex. D, showing the partner median rate of

$490 in 2021 and $475 in 2019 and the associate median rate of $300 in 2021 and $345 in 2019

in the Kansas City Market) (see Ex. E, showing the partner median rate of $450 in 2021).

       The rates being requested by Plaintiff’s counsel are certainly reasonable and in line with

the St. Louis and Kansas City markets.



                                               14
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185      Filed: 01/04/22        Page: 19 of 21 PageID #:
                                                1909



                       x. Three Primary Attorneys

       Through the course of the litigation, Plaintiff was represented by two primary attorneys

(Kevin Carnie and David Welder) from two separate law firms – each with their own unique skill

sets. Mr. Carnie and Mr. Welder were assisted by associate attorneys in their firms (primarily

Patrick McPhail) and paralegals. As the affidavits make clear, the work was generally divided

up between counsel and efforts were not duplicative.

       Again, Plaintiff’s counsel also served distinctive roles in this litigation and at trial, and

their efforts were not duplicative. Each backed up the other in his primary area of responsibility

and each was more efficient because of the work and suggestions of the other attorneys.

       Private clients with complex matters are commonly represented by multiple lawyers at

trial and there is no reason why civil rights plaintiffs should be limited to a legal team with fewer

members than necessary to handle the case.

                      xi. Reasonable Non-Taxable Expenses

       Plaintiff is entitled to recover the expenses incurred in the prosecution of this litigation.

Recoverable expenses include all costs and reasonably related out-of-pocket expenses. Neufeld

v. Searle Laboratories, 884 F.2d 335, 342 (8th Cir. 1989); Laffey v. Northwest Airlines, Inc., 746

F.2d 4, 30 (D.C. Cir. 1984) (authority granted in 42 U.S.C. § 1988 to award a “reasonable

attorney’s fee” in civil rights case include reasonable out-of-pocket expenses incurred by the

attorney which are normally charged to a fee-paying client); see also Pinkham v. Camex, Inc., 84

F.3d 292, 294-95 (8th Cir. 1996) (a reasonable attorneys’ fee must include “reasonable out-of-

pocket expenses of the kind normally charged to clients by attorneys.”).

       Plaintiff seeks $5,328.49 in non-taxable costs incurred by Norris Keplinger Hicks &

Welder, LLC (Exhibit F, amounts highlighted in yellow) and $3,843.94 incurred by The



                                                  15
{0268417.DOCX}
Case: 4:17-cv-02702-JAR          Doc. #: 185     Filed: 01/04/22        Page: 20 of 21 PageID #:
                                               1910



Simon Law Firm, PC (Exhibit G, items highlighted in yellow) in prosecuting this matter. The

total amount of non-taxable costs sought is $9,172.43.

                     xii. Additional Time Expected

       Plaintiff is filing this Motion for Attorneys’ Fees on January 4rior to submission to Court. ,

2022. Plaintiff anticipates that additional work will be required to respond to Defendant’s post-

trial motions and therefore anticipates filing a brief supplement to this Motion.

       III.    CONCLUSION

       Plaintiff prays for an award of attorneys’ fees of $604,689.50 and out-of-pocket non-

taxable costs of $9,172.43 – for a total award of $613,861.93. In addition to what has been

stated above, this amount is reasonable given the history of this matter, its duration and

complexity and the defenses asserted.

       WHEREFORE, Plaintiff respectfully requests this Court award Plaintiff $613,861.93 for

his attorneys’ fees and non-taxable costs, and for such other and further relief as this Court

deems just and proper.




Dated: January 4, 2022                        Respectfully submitted:

                                              NORRIS KEPLINGER HICKS &
                                              WELDER, LLC


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                                                 16
{0268417.DOCX}
Case: 4:17-cv-02702-JAR         Doc. #: 185     Filed: 01/04/22       Page: 21 of 21 PageID #:
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                                            pmcphail@simonlawpc.com

                                            Attorneys for Plaintiff


                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was served via the Court’s CM/ECF filing system on
this 4th day of January, 2022, to all counsel of record.

                                                      s/David J. Welder
                                                    Attorney for Plaintiff




                                               17
{0268417.DOCX}
